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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

     PAULINE ROCKE,

                             Plaintiff,

                       - against -                         MEMORANDUM & ORDER
                                                             25-cv-02529 (NCM) (JRC)
     ACS; PAULINA RODINOUZ; NADER
     SHEHATA; PSA1; DOREEN ORNENA,

                             Defendants.




 NATASHA C. MERLE, United States District Judge:

         Pro se plaintiff Pauline Rocke filed the above-captioned complaint. Plaintiff’s

 request to proceed in forma pauperis pursuant to 28 U.S.C. § 1915 is granted. For the

 reasons discussed below, plaintiff’s complaint is DISMISSED.

                                          BACKGROUND

         Submitted on May 1, 2025, this is plaintiff’s ninth action 1 in this Court making the

 same or similar allegations. None of her prior submissions have provided a viable federal

 claim, nor have they lent clarity to the basis or bases for her claims. Like all her prior

 submissions, the instant complaint, to the extent it is comprehensible, appears to concern




 1      Rocke v. Hettleman et al, 24-cv-05874 (NCM) (“Rocke I”); Rocke v. Hettleman et
 al, 24-cv-05961 (NCM) (“Rocke II”); Rocke v. Turbow, 24-cv-06041 (NCM) (“Rocke III”);
 Rocke v. USA et al, 25-cv-00040 (NCM) (“Rocke IV”); Rocke v. Coney Island Hospital
 EMT, 25-cv-00627 (NCM) (“Rocke V”); Rocke v. PSA1 ACS et al, 25-cv-00628 (NCM)
 (“Rocke VI”); Rocke v. Coney Island Hospital et al., 25-cv-00983 (NCM) (“Rocke VII”);
 Rocke v. Rodricus et al., 25-cv-00986 (NCM) (“Rocke VIII”). Following the filing of the
 instant complaint, plaintiff filed another case, Rocke v. Coney Island Hospital et al, 25-
 cv-02622 (NCM) (“Rocke X”).
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 her emergency mental health care treatment and allegedly fabricated conditions that led

 to the removal of her child from her custody.

        The complaint is largely incomprehensible and does not tie any of the defendants

 to a claim. The entirety of plaintiff’s statement of claim is:

               Im here because child molest my kids because of that failure
               to perform on duty false reason cofounding why acs remove
               my kids misleading information about sexual molest false
               statement why assumption preliminary injunction Legal
               consequences Biven Retaliation conspiracy after the fact
               Defraud gag order criminal contempt of court conspiracy after
               the fact mallcious intent criminal contemp of court
 Compl. 5.

 The relief she seeks from the court is similarly incomprehensible:

               false report self sabotage got to answer about child molest case
               never know about misdiagnose expungement and cease and
               desist immediate action displacement Theft cyberbullying
               mishanding failure to perform on duty before remove of self
               put in the hosptial false pretense intent to Defraud

 Compl. 6.

        However, for the first time, this complaint provides some insight as to the timing

 of the incidents of which she complains. Plaintiff attached a “Letters of Guardianship of

 the Person of a Minor” document to her complaint, which indicates that a guardianship

 determination of a child occurred over a decade ago, in 2012. Compl. 7. The Court

 assumes that this custody determination concerned plaintiff’s then-minor child who is

 now a 23-year-old adult. Compl. 7. Judge Daniel Turbow, who was listed as a defendant

 in one of plaintiff’s prior actions, see Rocke III, is listed as a witness on this document.




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                                STANDARD OF REVIEW

        A complaint must plead “enough facts to state a claim to relief that is plausible on

 its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). 2 A claim is plausible “when

 the plaintiff pleads factual content that allows the court to draw the reasonable inference

 that the defendant is liable for the misconduct alleged.” Matson v. Bd. of Educ., 631 F.3d

 57, 63 (2d Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). While all

 factual allegations contained in the complaint are assumed to be true, this presumption

 is “inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678.

        Nonetheless, when the Court reviews a pro se complaint it must hold it to “less

 stringent standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551

 U.S. 89, 94 (2007) (per curiam) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)); see

 also Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009) (noting that even after Twombly,

 courts “remain obligated to construe a pro se complaint liberally”).

        Pursuant to Rule 8 of the Federal Rules of Civil Procedure, plaintiff must provide

 a short, plain statement of her claim against each named defendant so that they have

 adequate notice of the claims against them. Iqbal, 556 U.S. at 678 (“Rule 8 . . . demands

 more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”). A

 pleading that only “tenders naked assertions devoid of further factual enhancement” will

 not suffice. Id. To satisfy this standard, the complaint must, at a minimum, “disclose

 sufficient information to permit the defendant to have a fair understanding of what the

 plaintiff is complaining about and to know whether there is a legal basis for recovery.”

 Kittay v. Kornstein, 230 F.3d 531, 541 (2d Cir. 2000). “The basic requirements of Rule 8


 2      Throughout this Order, the Court omits all internal quotation marks, footnotes,
 and citations, and adopts all alterations, unless otherwise indicated.
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 apply to self-represented and counseled plaintiffs alike.” Harnage v. Lightner, 916 F. 3d

 138, 141 (2d Cir. 2019). A court is empowered to dismiss a complaint on its own initiative

 where the complaint does not comply with Rule 8. Id.

        Moreover, under 28 U.S.C. § 1915(e)(2)(B), a district court shall dismiss an in

 forma pauperis action where it is satisfied that the action “(i) is frivolous or malicious;

 (ii) fails to state a claim on which relief may be granted; or (iii) seeks monetary relief

 against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B).

                                        DISCUSSION

        The Court must dismiss plaintiff’s complaint in its entirety because, even

 construed liberally, it fails to meet Rule 8’s minimal pleading requirements. Specifically,

 plaintiff fails to provide a “short and plain” statement of her claims against each named

 defendant so that each defendant has a “fair understanding of what the plaintiff is

 complaining about and to know whether there is a legal basis for recovery.” Harnage, 916

 F.3d at 141. As with her prior actions, plaintiff appears to seek relief from individuals and

 entities who were involved in her healthcare and hospitalization, but her complaint does

 not suggest a basis for relief or whether such relief is within this Court’s power to consider.

 Thus, even liberally construing the complaint in plaintiff’s favor, plaintiff’s allegations fail

 to state a claim for relief. See Hall v. N.Y.C. Hous. Dep’t, No. 22-cv-06692, 2022 WL

 17253530, at *2 (E.D.N.Y. Nov. 28, 2022) (dismissing pro se complaint where the court

 was “unable to determine exactly what claims [p]laintiff [was] attempting to allege”).

 Plaintiff’s complaint is therefore dismissed.

        The Court has considered and declines to afford plaintiff an opportunity to amend

 this complaint. Given plaintiff’s litigation history and the complaint’s defects, it is unlikely

 that plaintiff can cure the defects by amendment. Thus, the Court concludes that granting

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 plaintiff leave to amend would be futile. See O’Hara v. Weeks Marine, Inc., 294 F.3d 55,

 69 (2d Cir. 2002) (“[A] district court may deny leave to amend the complaint if the

 amendment would be futile.”). Furthermore, as stated above, plaintiff has filed nine other

 complaints in this court within the last year, in which she similarly seems to allege

 wrongful conduct as to her healthcare and the care of her child. And though plaintiff’s

 complaints contain various defendants, given that at this stage it appears all her claims

 concern the same underlying facts, it would likely be a waste of resources for plaintiff to

 amend this action, when she has several similar actions already pending. It is important

 that the Court and defendants not be required to expend resources on patently frivolous

 litigation. See Gonzales v. Wright, 06-cv-01424, 2010 WL 681323, at *12 (N.D.N.Y. Feb.

 23, 2010) (noting that courts in the Second Circuit have consistently recognized that “it is

 utterly unjust to haul people into federal court to defend against, and disprove,

 delusions”) (collecting cases).

                                       CONCLUSION

        For the reasons stated above, the action is dismissed for failure to comply with Rule

 8 of the Federal Rules of Civil Procedure and to state a claim for relief. 28 U.S.C. § 1915

 (e)(2)(B)(ii). Further, the Court warns plaintiff that it will not tolerate frivolous litigation

 and that if she persists in filing frivolous or duplicative actions, the Court may enter an

 Order barring the acceptance of any future in forma pauperis complaints for filing

 without first obtaining leave of the Court to do so. 28 U.S.C. § 1651; see e.g., In re Martin-

 Trigona, 9 F.3d 226, 227–29 (2d Cir. 1993); Iwachiw v. N.Y. State Dep’t of Motor

 Vehicles, 396 F.3d 525, 529 (2d Cir. 2005); see also Lau v. Meddaugh, 229 F.3d 121, 123

 (2d Cir. 2000) (per curiam) (noting that a district court has the authority to issue a filing



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 injunction when “a plaintiff abuse[s] the process of the Courts to harass and annoy others

 with meritless, frivolous, vexatious or repetitive . . . proceedings”).

          The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal would not be

 taken in good faith and therefore in forma pauperis status is denied for the purpose of

 any appeal. Coppedge v. United States, 369 U.S. 438, 444–45 (1962).

          The Clerk of Court is respectfully directed to enter judgment, close the case, mail a

 copy of this Order to plaintiff and to note the mailing on the docket.



 SO ORDERED.

                                                       /s/ Natasha C. Merle
                                                     NATASHA C. MERLE
                                                     United States District Judge


 Dated:          May 13, 2025
                 Brooklyn, New York




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